       Case 1:25-cr-00066-DMT          Document 98        Filed 04/22/25     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )      PRETRIAL STATUS CONFERENCE
               Plaintiff,                    )
                                             )
       vs.                                   )
                                             )      Case No. 1:25-cr-066
Vicki Lee Sherven,                           )
                                             )
               Defendant.                    )


       The undersigned shall hold a pretrial status conference with counsel by telephone on

September 16, 2025, at 11:45 AM to discuss, among other things, the viability of the current trial

date. To participate, counsel shall call (571) 353-2301 and enter “Call ID” 292466149. Counsel

are strongly encouraged to consult with each other prior to the conference. This will enable the

conference to progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 22nd day of April, 2025.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
